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A 0 245B (Rev 12/03) Sheet 1 -Judgment in a Crimmal Case
-




                               UNITED STA TES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DIVISION



UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE

                                                                 CASE NUMBER: 8:05-cr-258-T-30MAP
                                                                 USM NUMBER: 42962-018
VS.



JHONY CORREA-MENA
                                                                 Defendant's Attorney: James Armington, cja.

THE DEFENDANT:

-
X pleaded guilty to count@)ONE (1) of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                         NATURE OF OFFENSE                                    OFFENSE ENDED               COUNT
21 U.S.C. 3 960                         Conspiracy to Possess With Intent to                 June 10,2005                One
                                        Distribute 5 Kilograms or More of Cocaine
                                        While On Board a Vessel Subject to the
                                        Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X Count(s) TWO (2) of the Indictment is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                    Date of Imposition of Sentence: December 2, 2005




                                                                                    &TED       STATES DISTRICT JUDGE -

                                                                                    DATE: December        32s,
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A 0 245B (Rev 12/03) Sheet 2 - In~prisonment
Defendant:          JMONY CORREA-MENA                                                                         Judgment - Page 2 of 6
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                                                              IMPRISONMENT

          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$5 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SEVENTY-TWO (72) MONTHS as to Count One of the Indictment.




- T h e c o u r t makes the following recommendations to the Bureau o f Prisons:




-
X The defendant is remanded to the custody of the United Scares Marshal.
- The defendant shall surrender to the United States M;~sshalfor this district

          - at -a.m./p.m.     on -.
          - as notified by the United States Marshal.

   The defendant shall surrender for service of sentence at the irlsti~utiontlcsignated by the Bureau of Prisons.

          - before 2 p.m. on   -.
          -as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I h a v e executed this judgment a s follows:




          Defendant delivered on                                                 to                                               at

                                                                       , with a certified c o p y o f this judgment.



                                                                                          United States Marshal




                                                                     Deputy Marshal
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A 0 2458 (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           JHONY CORREA-MENA                                                                             Judgment - Page 3of 6
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                                                            SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime.

          The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
          probation officer.

            If this judgment imposes a fine o r a restitution it is a condition o f supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district tvithout the permission of the court or probation officer:

            the defendant shall report to the probation oflicer and shall submit a truthful and complete written rcport \\ithin the first five days of each
            month;

            the defendant shall anwer truthfully all inquiries by the prohation oflicer ant1 follon the instructions of the probation officer:

            the defendant shall support his or her dcpcndcnts and mcct other limily rcsponsibilitics:

            the defendant shall work regularly at a lawful occupation. ~ ~ n l c\cusctl
                                                                                es      by the probation oflicer for schooling. training. or other
            acceptable reasons:

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

           the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute. or administer any controlled
           substance or any paraphernalia related to any controlled substances. except as prescribed by a physician:

           the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered:

           the defendant shall not associate \\ith any persons cngaged in criminal activity and shall not associate nith any person convicted of a
           felony, unless granted permission to do so by the probation olliccr:

           the defendant shall permit a probation officcr to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation oflicer:

           the defendant shall notify the probation officcr \r ithin seventy-t~vohours of being arrested or questioned by a law enforcement officer:

           the dcfendant shall not enter into any agreement to act as an inlbrmcr or a special agent of a law enforcement agency without the
           permission of the court;

           as directed by the probation olticer. the defendant shall notify third parties of risks that may be occasioned by thc defendant's criminal record
           or personal history or characteristics and shall permit the probation olticer to make such notifications and to confirm the defendant's
           compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release
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Defendant:           JHONY CORREA-MENA                                                                  Judgment - Page 4 of 6
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                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:
          Defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
          dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
          may included testing for the detection of substance use or abuse not to exceed 104 tests per year. Further, the defendant shall
          be required to contribute to the costs of services for such treatment not to exceed an amount determined reasonable by the
          Probation Officer based on ability to pay or availability of third party payment and in conformance with the Probation Office's
          Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency treatment program
          the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104 test per year.
          If the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission of the
          appropriate governmental authority.
          The mandatory drug testing provisions shall apply pursuant to the Violcnt Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
          per year.
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 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:           JHONY CORREA-MENA                                                                   Judgment - Page 5 of 6
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                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                            -
                                                                       Fine                      Total Restitution

           Totals:               $100.00                               Waived                    N/ A


 -         The determination of restitution is deferred until -.                An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. 6
                                                              'I'
           3664(i), all nonfederal victims must be pai before the United States.
                                                                                                                Priority Order or
                                                        *Total                     Amount of                    Percentage of
 Name of Payee                                        Amount of Loss            Restitution Ordered             Pavment




                                Totals:              L                          L-.
           Restitution amount ordered pursuant to plea agreement $
           The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. 5 3612(g).
           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -         the interest requirement is waived for the          fine    - restitution.

          -         the interest requirement for the           fine      restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1 10A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        JHONY CORREA-MENA                                                                 Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X        Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   , or

                            -in accordance - C , - D , - E or - F below; or
B.       -        Payment to begin imnlediately (may be combined with -C , -D, or -F below); or
C.       -        Payment in equal                 (e.g., weekly, monthly. quarterly) installments of $              over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 6 0 days) after the
                  date of this judgment; or
D.       -        Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except                               made through the
         Z                             E
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                   $ 2
or portions thereof, subject to forfeiture. which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall be applied in the following order: (1) assessment, (2) restitu~ionprincipal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs
